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Honorable Steve Jones
U.S. District Court
Northern District of Georgia
75 Ted Turner Drive SW, Atlanta Ga.


Honorable Judge Jones,

I am writing to you on behalf of John Oxendine, whom I’ve known for over 20 years, my name is Alan
Shuman, former Fire Chief for the City of Riverdale, Ga., former Chief State Fire Marshal of Georgia and
current Fire Chief of Barrow County Fire Department.

In 2000, John Oxendine appointed me to the position of the Georgia State Fire Marshal, Mr. Oxendine
and I worked very hard as a team to reduce the number of fire deaths across the state of Georgia.
During the 90’s the state of Georgia was seeing almost 200 fire deaths a year. As a team we worked to
assist local fire department by networking with over 600 fire departments to provide them the
educational resource to reduce the number of fire deaths, whether from accidental fires or intentionally
set fires. We built coalitions across the state to better support the local fire departments. The actions
taken reduced the fire deaths in Georgia to below 100 within 2 years, actually one year the fire death
were 68 deaths.

John Oxendine, spent many days on the road talking with many of the local civic originations across the
state brought attention to the issue of fire safety. As the Safety Fire Commissioner he participated in
several state wide associations, to understand the full issues of living fire safe. His work reduced the
number of fire death statewide. I would hope his work as Safety Fire Commissioner would be
recognized during the process.

Thank You
Alan Shuman




                                           Alan Shuman
                                           Chief of Department
                                           Barrow County Fire Department
                                           222 Pleasant Hill Ch. Rd. NE
                                           Winder, GA 30680
                                           Office: 770.307.2987 x3774
                                           www.barrowga.org
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                                                       May 22, 2024
Hon. Steve Jones
U.S. District Court for the Northern

District of Georgia
75 Ted Turner Dr. SW

Atlanta, GA 30303


Re: John Oxendine


        Dear Judge Jones:

       i am a 40 year member of the State Bar of Georgia. I have known John Oxendine since the
1990s, and knew his father, a longtime Gwinnett County Superior Court Judge. I practiced law in
Gwinnett County my entire career. The Oxendine family has a long history of public service in
Gwinnett County and across the state.

        My first dealings with John were when he was serving as insurance commissioner. 1 was
serving as a U.S. Justice Dept. Chapter 7 Bankruptcy Trustee and was appointed Trustee for a
petroleum company reseller in Henry County. During the case, we discovered a public/hazardous
situation with the illegal storage of fuel and we had to pursue emergency recourse in Bankruptcy
Court to stop the situation. We became aware that fire threats fell under the jurisdiction of the
insurance Commissioner and we contacted Commissioner Oxendine’s office and were able to deal
with him personally. The Bankruptcy Court then held an emergency hearing going into a holiday
weekend and Commissioner Oxendine had a high level department employee inspect the situation
and then attend the hearing and testify to support our efforts to shut down the operation. The
Court granted the motion and the situation was rectified, with the public being protected. Through
this process, we were impressed with the hands on responsiveness of Mr. Oxendine and his staff.

        When Mr. Oxendine left office and entered private practice he contacted our office
periodically with questions about bankruptcy matters that may effect his clients. He always
presented himself as concerned about his clients and showed a desire to seek input from others
that may have an expertise in a practice area differentthan his own.

        in lateryears, I became aware John and I belonged to the same social club and i would run
into him and his wife and son from time to time, in seeing them together as a family, it was obvious
John has a strong relationship with his family and seems to be a true family man.

        i have not followed the details of John’s current situation. But i do understand he has taken
full responsibility for his actions and seeks to remediate himself and move forward.

                                                       Very truly yoi^s.


                                                       Albert K Nasuti
                                                       Attorney at Law
                                                       2 Sun Court, Suite 400
                                                       Peachtree Corners, GA 30092
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June 17, 2024

Marissa Goldberg
The Findling Law Firm
3575 Piedmont Road NE
Suite 1010
Atlanta, GA 30305

To Whom It May Concern:

I am writing this letter on behalf of John Oxendine. I’ve known John since 2018 when he and his
wife Ivy purchased a lot in our neighborhood in Florida. We were in the process of building our
house, and I met the Oxendine’s at our annual HOA meeting. We had a need for volunteers on the
board, and Ivy immediately offered to join with John’s support and encouragement. Since then John
has also been on the board donating his time and expertise to our neighborhood.

We learned that they also had a house in Atlanta up the road from our house in Johns Creek. The
Oxendine’s invited us to their house and were kind and gracious hosts. We have enjoyed getting to
know them and their family for the last several years.

Three things strike me about John in addition to his outgoing and ever-friendly personality. First, I
have a boat and enjoy fishing. I offered to have John join me on a trip. I thought it notable that John
would not go on the trip without his son, Jake. On the trip, John spent most of the time helping his
son work out how to handle the rod and reel, etc. The trip wasn’t about what fun he might have, but
rather that his son would have a good experience.

Next is that John is a true patriot and American. Their house at the beach is always heavily
decorated for the 4th of July and other holidays. John spent many years as a politician, so his love
and commitment to our country is very evident.

The last recollection ties into the previous – every 4th of July John spends a large sum purchasing
fireworks to celebrate the holiday. Most of the neighborhood along with other people up and down
the beach enjoy the generous show that John puts on.

In closing, John has been a kind, outgoing, generous, and thoughtful neighbor and friend, and I’d be
happy to talk with anyone further if wanted or needed.
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Sincerely,



Brad Falberg
320 Falls Point Trail
Johns Creek, GA 30022
678 642 1886
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Caroline Clark
111 Stonehill Drive
Forsyth, Ga 31029

May 31, 2024

Re: John Oxendine

To: The Honorable Judge Steve Jones

While the circumstances under which I write to you sadden me, the subject brings me great
gratitude in my reflection. Writing on behalf of John’s character will be easy for me, and I hope I
can give you an endearing glimpse into his person.

John married my mom, Ivy, when I was four years old. I do not remember a life without three
parents, and I consider myself lucky for it. John went from a father of one to a father of three
overnight, and while I don’t recall making that transition easy for him, he certainly handled it with
determination. He made sure we knew we were loved and taken care of by him always, whether
we reciprocated that daily or not. The groanings and the struggles of a typical blended family
were present in our home. They came and went with different seasons and ages, but his care,
concern, and will to make it work and make it happy always remained. He has worked to win my
heart and favor for as long as I can remember. He seeks to serve and love us, the children that
do not biologically belong to him, whenever we’re in his home and always has.

As children, John wanted us to always learn and experience the things that added value to his
life. It excited him to take us all over the country and the world. It excited him to teach us and
expand our worldviews. He took many of these trips with us, solo, a little fact that blows me
away as a parent now. Boston, New York, San Francisco, Florida Keys, Switzerland - if he was
going, he wanted us right there with him. John looked forward to these trips every year. They
were a time when we could step into his world and see what made him tick - his work, his
passions for history, learning, exploring, and food. Time spent with each of us outside of the
routines of home, school, and work made him and us happy and grateful. Although he loved to
invite us into his world, he was always quick to step into our world, too. John was the first to
jump in a cold pool to play with us, sweat for hours in the backyard on the trampoline, or start up
a game of kickball. He delighted in playing in our world. He let himself go and let himself enjoy
the simplicity of play, another fact that as a parent now blows me away. He was and is our fun
parent, don’t tell my mom.

As adults, John anticipates our trips and visits home from when we plan them until we reach his
doorstep. He still delights in our presence and seeks to serve. He makes sure all of our current
favorites are stocked in the pantry. He wakes up earlier than us to make the breakfast and
cappuccino of our choosing. For my mom and me, he hops in the car before we wake up and
runs down to the Quick Trip to ensure we both wake up with a fountain Diet Coke because
we’ve both stated they are remarkably better than bottled or canned. He doesn’t dispute that or
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ignore that, he indulges that. It’s a small example of the consistent servant leadership in our
home. As a grandfather now, he is tirelessly doting and affectionate, always stepping into the
world of carefree play to spend time and connect with my daughter. When we visit, he’s the one
setting up a perfect beach day for her, the one making sure she has her favorite things to play
with, eat, or drink, the one to read the same book for the fifth time, or put on her favorite movie
and watch it with her.

John’s character is overwhelmingly loving. He is a servant. He aims to serve and please us
every day that he wakes up. I know these next months will be devastating for all of us without
him in our homes, but we look forward to welcoming him home and learning all that this
experience teaches him. We’re praying that this experience isn’t wasted and that John, a willing
learner, and a generous sharer, will learn and share a deeper understanding of the sustaining,
forgiving nature of God who always carries our family.

Be blessed, Your Honor,
Caroline Clark
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Re: John Oxendine

To: The Honorable Steve Jones

Your honor,

I’m writing on behalf of my father-in-law, John Oxendine. I’ve known John for the last eight years as I’ve
pursued and married his step-daugher, Caroline. It’s truly been a pleasure.

One thing to preface this letter, I’m a guy of few words with a deep faith in God the Father, Jesus Christ
the Son, and the Holy Spirit. The triune God that will work to make this all good should we ask Him to,
and ask, we do.

John is a good man with a heart to serve those around him and add value to their lives. John is a smart
man who has always provided for those around him generously and graciously. John is a playful man who
gets a kick out of any joke or any game. He will do football drills with his fifteen year old son, Jake, or
play Winnie the Pooh with my daughter, Bee, for hours on hours. John is a sensitive man who cries at
movies, birthdays, and holidays. John is a learner who takes all that he learns from people, documentaries,
or travel and gives it all back to his family. John is our personal chef who keeps everyone full of all their
favorite renditions of whatever he is making. John is a kind man who will strike up a conversation with
anyone, anywhere and leave invested in who that person is and where they are trying to go in life. John is
a faithful man who knows God, who rest in the One who holds tomorrow and every day after that.

It would be easy for you to not see John the way we, his family, see him. The hope of these letters is that
you would see and feel the value he adds to our lives, how much we will miss him while he’s away and
how eager we are to welcome him back when the time comes. We remain hopeful as a family every day
because our mistakes, our brokenness, our short comings do not hinder the God we serve, they create
more room for Him to move and be glorified.

Respectfully,
Davis S. Clark
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May 19, 2024



The Honorable Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303

Dear Judge Jones,

I am writing this letter on behalf of John Oxendine.

Allow me to introduce myself. My name is Greg Hawkins, and I am a retired employee
of the Georgia Department of Insurance. I had the privilege of meeting John Oxendine
29 years ago when he assumed the role of Commissioner of Insurance. While our initial
connection was professional, over the years, our relationship evolved into a friendship.

During his tenure as Insurance Commissioner, John consistently tried to meet the needs
of consumers and small businesses. His policies and direction led to availability and
pricing stability in the personal automobile insurance and workers' compensation
markets, which were volatile and tight prior to his taking office. He also had the foresight
to lead and advocate for telemedicine in Georgia, which was beneficial for rural and
underserved areas.

As an employee I was free to voice my opinions, even in disagreement, without fear of
retribution.

One aspect of John's character that I admire is his unwavering commitment to his family
and faith. These values have shaped his personal life and influenced his professional
decisions during his tenure with the Georgia Department of Insurance.

Thank you for your consideration.

Sincerely,



Greg Hawkins
1030 Westminster Way
Madison, GA 30650
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Greta Gilson Agnew
5970 Rachel Ridge
Peachtree Corners, GA 30092
770-330-1914

          May 20, 2024

Honorable Judge Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303

Dear Honorable Judge Jones,

I am writing on behalf of my friend and former neighbor, John Oxendine, whom I have
known for at least 15 years. We were neighbors to John and Ivy for 10 years in Thornhill
subdivision. We were also members of the Atlanta Athletic Club with them. I am a
nurse practitioner and have worked in healthcare for 43 years.

John has always proven to be a good father, husband, and man of God. He has always
been attentive and involved with his children. He never saw a difference between his
and Ivy’s shared children, treating them all with love, respect, and inclusiveness. He
was often seen throwing base balls with Jake in the yard, walking with him, and playing
with their Westie. He is an involved parent.

Reflecting on his kindness, I recall an instance when our elderly dog got out of the fence
and was standing bewildered in the middle of the street. John saw her and coxed her to
follow him to our door, essentially saving our dog’s life. We are eternally grateful that he
saw her. He has also given me words of encouragement as my husband was
diagnosed with Alzheimer’s dementia. He has shared his faith with compassionate
understanding of the hardship the diagnosis has caused our family.

John has always been most generous to include us in their holiday gatherings, even
after we moved to another neighborhood. He was attentive of his guest and introduced
everyone to one another. He has never been ostentatious or braggadocios, but
genuinely kind and respectful. What I have gleaned from the years of knowing John, is
that he is a man of honor and integrity. I am proud to call him a friend.

Most sincerely,


Greta Gilson Agnew
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                                      SUPERIOR        GOURT            OF FULTON          GOUNTY
                                                    ATLANTA     JUDICIAL        CIRGUIT
                                                       185   GENTRAL   AVENUE      S.W.

                                                               SUITE   - 5905

                                                       ATLANTA,   GEORGIA       303803,

        GHAMBERS        OF                                                                         (404)   612-8667    TELEPHONE

JUDGE   GRAIG   L.   SGHWALL,   SR.                                                                (404)   224-0551    FACSIMILE

                                                                                                   E-MAIL: craig.schwall@ fultoncountyga.gov



                                                              July 3, 2024




          Honorable Steve C. Jones
          United States District Judge
          1967 Richard B. Russell Federal Building and United States Courthouse
          75 Ted Turner Drive, SW
          Atlanta, GA 30303-3309

                                Re: John Oxendine


          Dear Judge Jones,

          I hope this letter finds you well.        I have always respected you and your abilities as an excellent
          jurist.

          I wanted to write and inform the Court that I have known John Oxendine for 30 years. My dealings
          with him have been forthright, above board, and honorable. I would hope and expect that the
          conduct of which he is accused by the government is an aberration, and not his standard. I
          commend him for pleading guilty and accepting full and entire responsibility for his actions.
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                                         Ivy Oxendine
                                   5375 Chelsen Wood Drive
                                  Johns Creek, Georgia 30097


Dear Judge Jones,
I am Ivy Oxendine, and I write this letter on behalf of my husband, John. For over twenty years,
John has been my husband, best friend, father to our children, our Westie’s favorite person, captain
of our trash carts, bug destroyer, lid loosener, and grill master. It is the hope of my heart that
through my words you’ll meet my John and appreciate him beyond the four corners of this case.
I begin with the ultimate fact: John is a Believer. While Christ’s sacrificial love may be an odd
start for a character letter about John, the absolute truths of the Christian faith inform John’s life.
How John carries himself in this world, his spirit, and who he is as a husband to me, father to our
children, son, brother, and friend are all informed by his faith. When inevitably falling short, as a
Believer, John’s complete trust is in the unmerited grace of a God who is both loving and just.
Professionally, John leads an exemplary life. He was the first insurance commissioner in America
to receive the American Medical Association’s Dr. Nathan Davis Award for his advocacy on behalf
of patients. John represented the United States at the Hague both negotiating and authoring “a few
lines about reinsurance” in the international treaty for the enforcement of choice of law provisions
in contracts. Further, John’s directive as insurance commissioner led to Georgia’s Supreme Court
affirming that diminution of value applies to real property claims. While such recognition ratifies
one’s results, the public in public service means the most to John.
Hands down, John is one of the best retail politicians I’ve ever seen. He’s quick on his feet, equal
parts polished and folksy, and a good listener. Distinctively, however, John never sees people as a
means to an end. Simply, he loves people. When serving in public office, John’s cell phone number
was more than obtainable, it was readily offered – a sincere open-door policy. For sixteen years,
when tornados touched down, John, along with his staff, walked into the devastation, to knock on
doors, meet the injured, listen to their needs, and deliver relief. John is not a “lead from the tower”
guy and does not ask of others that which he is unwilling to do himself. In 2010, departing from
an election party, one of the waitstaff grabbed John and gave him a big hug. She turned to me and
said, “I’ve worked in this hotel for years. Your husband, he always sees the busboys and the servers.
He makes it a point to speak to us and ask how we are doing. He’s the only Republican I’ve ever
voted for.” Recently, John became a resident of rural Florida. To the tradespeople, small business
owners, and deeply rooted in our tiny town, John is the unofficial mayor of Cape San Blas.
Sometimes the connection is as simple as a shared love of Ram trucks and Hemi engines. Other
times, John’s kind eyes and “never met a stranger” demeanor invite a young mom to share her
burdens and ask for advice. At all times, John is welcomed as one of the “good ones” for he sees
the best in people and helps them see the best in themselves.
Personally, I love John as meat loves salt. In folklore, a king asked his three daughters how much
they loved him. The first said, I love you more than diamonds and gold, and the second said I love
you more than rubies and silver. The third daughter said I love you as meat loves salt. Desperately
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offended, the king banished her. Many years later, the king realized that more than diamonds or
gold, salt, like love, is necessary to life for salt flavors, cures, preserves, and enhances.
John is the flavor in our family. He’s quirky, and we love it. John cries at movies, almost all of
them. Affectionately, he’s called “bird dog,” because he eats off others’ plates and for years cajoled
our daughter, Caroline, into “sharing” her Oreo Blizzards. John enjoys the simplicity of play from
kickball, basketball, or football to dominos, Candyland, Go Fish, or tea party. He’s an incredible
chef but not a baker because the exactness of a recipe unnerves him. He ends phone calls with
“take care,” rather than goodbye. John has worn a t-shirt that says, “I just want to drink wine and
play with my Westie,” until it has holes simply because our youngest son, Jake, picked it out and
paid for it with his allowance for John’s birthday gift. Our granddaughter, Bee, calls John “Big”
because he is: a Big presence, a Big personality, Big fun, and a Big buddy.
John draws out that which could spoil or ruin and replaces it with goodness. Ours is a blended
family; a fact that I hope surprises you. To John, Philip and Caroline are his children in every way
except for biology. For Philip and Caroline, John did all the big things - school tuition, cars at 16,
car insurance at 16(!), clothes, trips, piano lessons, orthodontia (lots of it!). For Philip and Caroline,
John did all the extra things – debt free higher education, apartment rent, replacement car after
wrecking car, still higher car insurance(!), the family cell phone plan, and Caroline’s dream
wedding. John did the unexpected things – taking Philip behind the scenes at the Oval Office, the
Green Monster, and the ruins of Ephesus and taking his daughter, Caroline, to Paris so that she
would see the city for the first time with a man who will always love her. Most importantly among
all the things, big and small, John is true love’s exponent in their lives. John’s ego did not demand
to either supplant Philip and Caroline’s biological dad or to one-up him – ever. John’s character
required that he love that boy and girl well, and real love does not make a child choose.
John acts to preserve our family. Foremost, John models God’s love for us - unconditional,
unbreakable, and true - in our home. John’s forgiveness is both quick and complete, a remarkably
reassuring gift to those he loves. John is authentically generous. He is neither a seeker of credit
nor a keeper of accounts. When at forty-two the opportunity to attend law school presented itself
to me, my hesitance and borderline obsession with details, such as who would do the laundry, was
quashed by John’s enthusiasm and faith. John kept me at the starting line, assuaging my doubts in
orientation, “Ignore the big talk, Ivy. YOU got in the same school they did.” During the race, John
was my one-man aid station and head cheerleader as he rose early to pack my lunchbox, carpooled
Jake to school, picked up after school, helped with Jake’s homework, prepared dinner, and cleaned
the kitchen (I kept laundry duty because he really is bad at it). At the finish line, John celebrated
me with purest adoration and esteem. As John’s wife, I know I am his treasure, and the freedom,
confidence, and stability this knowledge provides is everything.
John enhances every room he enters for he is the most predictably happy person I know.
A marriage is mostly ordinary, nothing special bits, day in and day out, punctuated by moments of
purest joy and profound grief. It is in this mix of the ordinary and extraordinary that a sacred
intimacy, a marriage, lives. A few days before offering his plea, John and I sat side by side at
Taqueria del Sol. As we shared chips and guacamole, I said, “John, I want you to know that to me,
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you are so much more than this.” He took my hand with a gentle squeeze, looked me in the eyes
and said, “thank you for that.” Across the 7,300+ days that comprise our twenty-year marriage,
this exchange of two simple sentences is among our most intimate moments for to be seen and
truly known is both a basic human longing and incredibly rare. Your Honor, I see John and know
John to be a good man. For me, the essential question, is John Oxendine a good person who did a
bad thing or a bad person who did a bad thing, has been asked and answered. It is my prayer that
this letter helps you to see John and know him, too.


Sincerely,
Ivy Oxendine
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                                                                          From the Desk of      Jason M. Shepherd
To the Honorable Steve C. Jones
U.S. District Judge, Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303


May 17, 2024
Dear Judge Jones:
My name is Jason Shepherd. I am an attorney admitted to practice by the State Bar of Georgia and have
known Mr. John W. Oxendine for approximately 23 years, since 2001. About a year after first meeting
Mr. Oxendine, I became employed by him at the Georgia Department of Insurance (DOI), where I spent
over five years (Aug. 2002 – Nov. 2007) in the communications department of the DOI, but also served as
Commissioner Oxendine’s Senior Aide. During that time, I had the opportunity to spend significant one-
on-one time with Mr. Oxendine, developing a close friendship and mentorship beyond what would be a
typical employer/employee relationship. We got to know each other’s families, attended each other’s
weddings, and have continued to stay in contact with each other until today, 17 years after leaving his
employment.
You can tell a lot about a person by the way they treat other people, which I observed attending countless
civic club (Rotary, Kiwanis, Lions, etc.) meetings where John would be invited to speak. Rather than
quickly rush out after the talk, John would take the time to speak even to the wait staff about their
insurance problems, give them his cell phone number, and follow up. Over the years, through his
initiatives and leadership, he helped return millions of dollars annually to people struggling to negotiate
with their insurance companies.
Aside from local emergency responders, we were the first on the ground after a natural disaster, with John
talking to homeowners who had just lost everything and couldn’t get in touch with their Insurance agent
who would soon have a voicemail from the Insurance Commissioner asking them where they were.
These weren’t people who could donate thousands to his re-election or lobbyist that could wine and dine
him, but people who needed help, and, from what I personally observed over those five years, they always
had John’s full attention and assistance.
One incident that will always stick in my mind involved his support of Safe Kids of Georgia. He had
spent a very rainy day in the parking lot at Six Flags Over Georgia as dozens of teenagers learned safe
driving practices in driving simulators set up under tents in the parking lot. The teens were not only
hoping to get some training that would help them get their driver’s licenses but were looking forward to a
few hours riding the rides. The weather was not cooperating. However, a break in the rain allowed for a
quick chance to get in a roller coaster ride and, with the urging of teens who had spent the entire day with
John, we soon found ourselves in the front row of seats on the Batman Roller Coaster. Because I had
spent a few hours at the office first before coming to Six Flags, I was in a suit and tie…still the only time
I’ve ridden a roller coaster in a suit and tie.
There are not many people I would rider a roller coaster in a suit and tie for, and I hope it was as
rememberable for those kids, who got to see elected officials are real people who rider roller coasters too,
but that’s the type of person John Oxendine is.




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There are many more stories and incidents I could relate, showing how John Oxendine in his dealing put
others first, but hopefully I have helped to show a fuller picture of someone who had meant a lot to me
and my family, and still does mean a lot to me and my family.
Sincerely,


Jason M. Shepherd




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From:
Rev. Johnny Hunt
4072 Earney Road
Woodstock, GA 30188

Date: May 13, 2024

To:
The Honorable Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive S.W.
Atlanta, GA 30303


Dear Judge Jones,

I am writing on behalf of my friend John Oxendine. My name is Rev. Johnny Hunt former
Pastor of First Baptist Church Woodstock, Ga and former President of the Southern Baptist
Convention (2008-2010).

I have been privileged to know Mr. Oxendine for the last 20 plus years. We were both from
Roberson County, N.C. and both members of the Lumbee American Indian Tribe.
John and I met while he was serving as Insurance Commissioner of the State of Georgia, he
was introduced to me by our mutual friend Mike White. I found John to be a man of
character and kindness. His personality was encouraging and welcoming. Through the
years I continued to be blessed with his friendship as a genuine individual that cared for
others. I had the opportunity to visit Mr. Oxendine outside his daily routine of serving our
State, each visit was consistent with the man of character I came to respect.


Sincerely Yours,




Rev. Johnny Hunt
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                             Lee W. Brigham
                           3018 Bransford Road
                          Augusta, Georgia 30909
                             (706) 267-2234


                                June 3, 2024


Honorable Steve C. Jones
United States District Judge
U. S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, Georgia 30303

      Re:   John W. Oxendine

Dear Judge Jones:

       I write on behalf of John W. Oxendine. I have known John since
2014, when he and I were among a group of attorneys who filed a class
action against a large life insurance company. John helped the team
prosecute the case to a successful resolution, and in so doing, helped obtain
benefits for tens of thousands of deserving class members. During the
pendency of the case, I found John to be honest and hardworking. I was
surprised and saddened to hear the recent news about John, as it did not
sound like the man that I had come to know over the past decade. I am
confident that John has learned from his mistake, and I am hopeful that he
will, in due course, use his considerable talents for the betterment of
society.

                              Sincerely,
                              /s/ Lee W. Brigham
                              Lee W. Brigham

LWB/id
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May 8, 2024

Spearhead Investigations, LLC
3000 Langford Road
Suite 600
Peachtree Corners, GA
30071-4776

                Re: State of Georgia vs. Melvin Randall Huff, Jr.
                    Retainer Fee


Dear Mr. Summers
We hope this message finds you well. Attorney Alexis Levine asked that I reach out to you
regarding the above-referenced case and matter. Please find enclosed escrow check number 5149
in the amount of $5,000.00.

As always, should you have any questions, please do not hesitate to contact us.

Best Regards,



Candace Stargell
Legal Assistant

Enclosure: 1
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  May 17, 2024



The Honorable Steve Jones

U.S. District Court for the Northern District of Georgia

75 Ted Turner Dr SW

Atlanta, Georgia 30303



The Honorable Judge Jones:

I am writing this on behalf of John Oxendine. I have known him personally and professionally for the
past 30 years. I am Marc Unterman M.D., an interventional cardiologist now in practice for 42 years. We
ﬁrst met when his father, Judge Oxendine, was very ill and I had the chance to see the great love John
demonstrated for his family. He was extremely supportive of his mother and father in the tough times
that followed, and I could count on him for his stability and great love for his family. We became
friends, and I became close friends with John’s wife and children through the school that our daughter
and his children attended.

John was very active in fundraising for the school that his children and our daughter attended, Greater
Atlanta Christian. He and his wife were selﬂess in helping children in need, as well as fundraising for
families that needed help. They were always ﬁrst on the call list.

He is a very kind and generous person, and I will always be proud of the close professional and personal
relationship that we have had. Through thick and thin, we could count on John and Ivy to be there for
those in need.

John has been a friend for many years. In the last 10 years, he has been my patient. I have seen love,
kindness and generosity in he and his family.



Very truly yours,



Marc Unterman M.D. FACC
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Marc P. Wayman
640 Lane Mill Rd.
Bennett, NC 27208

19 May 2024

Honorable Steve Jones, U.S. District Court for the Northern District of Georgia

Re: Character Reference for John W. Oxendine

Your Honor,

My name is Marc P. Wayman, and I am John Oxendine’s brother-in-law. I have
known John for nearly forty years, and I am writing this letter on his behalf. I first
met John shortly after meeting his sister, Shirley, before I entered military service
in the U.S. Army. After a long and varied career, across three branches, I retired
honorably from Army Special Operations with three combat deployments,
including with other Special Operations units, among them SEAL Teams 1, 7, and
10, CFSOCC-A, CJTF-HOA, and the 10th Special Forces Group, with a total of
over 28 years of service to this great nation.

Due to the fact that we always lived in different states, John and I were not very
close, but we are certainly friendly with each other, and we share a respect for
what we have each done with our lives. John has expressed to me that he
wished he could have served in the military, but unfortunately a medical
condition prevented that. I wish I had the capacity to tolerate the long hours
and dedication it takes to earn a degree that would allow me to have
practiced medicine.

My wife, Shirley, has often told me stories of their childhood, of growing up with
John, and of how he worked hard to earn money as a young man – becoming
a lock smith, helping neighbors, mowing lawns, and even starting his own lawn-
care business. How he and she played together – riding a cardboard box down
the stairs as a makeshift sled, riding the handlebars of his bike while they rode
around the neighborhood (before we became much more safety conscious
with our children and ourselves), playing cowboys and Indians – a funny story as
both John and Shirley are more than 50% American Indian and would both
choose to be Indians.

John has personally provided me with sound legal advice on at least two
occasions – without ever asking for anything in return.

John has worked tirelessly throughout his life to provide for his family. He has
studied hard, and worked ceaselessly to provide sound and just legal
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representation to those who need it. He has served honorably as insurance
commissioner for the state. As I understand it, he fought to reduce insurance
rates for those who needed it most, and to ensure that businesses followed the
law – including investigating cases of fraud.

I honestly believe that John has a good soul, and that he is a trustworthy, and
honorable, individual.

I hope this letter will give you an idea of his good character - thank you for
taking the time to read it.

Sincerely,



Marc P. Wayman
SFC(R), USA
Special Operations Command
Fort Liberty, NC 28310
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Honorable Steve Jones
U.S. District Court
Northern District of Georgia
75 Ted Turner Drive, SW
Atlanta, GA. 30303

5/6/2024

Dear Judge Jones,

I write this letter on behalf of Mr. John Oxendine who will soon come
before you for sentencing. While I know nothing about the case in
question, I do know quite a bit about Mr. Oxendine …John.

I ﬁrst dealt with John while he was Georgia’s Insurance
Commissioner and I assisted in the management of an HMO for
which John was ultimately responsible. All of my colleagues and I
thought the same thing in every interaction with Commissioner
Oxendine and that was he was tough but fair. There was never a
time in dealing with the Commissioner where I thought we were
being treated unjustly as he worked to protect the people of Georgia.

About eight years ago I got to know John on a more personal level
when he and his family moved in across the street from me in the
Johns Creek community. John was nothing short of an awesome
and supportive neighbor. His home backed up to the river while I
had an interior lot home. John noted that my children liked to ﬁsh in
pretty much any place where water stood at more than two feet and
he kindly invited them to march through his yard, open the gates,
and set themselves up on the bank behind his house to ﬁsh. John
and his wife Ivy cooked out often and he would bring uneaten meats
and steak bones to my front door to ask if he could share with my
dogs. He became such a friend to my family that while talking to my
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young daughter about what she would do if her Mom or I were not
home and she felt scared, she said “I would just run over to Mr.
Oxendine’s house”.

Although I moved from his neighborhood, I still see John and Ivy on a
fairly regular basis. They are always friendly and cordial not only to
me but to anyone else who is around at the time. Because we are
both in the healthcare business ﬁeld, John and I still do business
together occasionally and again, he is a tough but fair gentleman to
deal with at all times.

Your Honor, you or anyone from your staff are welcome to call me at
any time with questions or if you want me to embellish on anything I
have written above.


Kind Regards,



Michael C. Dendy
5352 Lacosta Lane
Alpharetta, GA. 30022
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MATRIX CONSULTING, LLC
                                      150 E. Palmetto Park Road, Suite 450, Boca Raton, FL 33432
                                                                       Telephone: (561) 910-1056


May 1, 2024




Honorable Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303

Re:       John Oxendine

Dear Judge Jones:

This is in reference to Mr. John Oxendine and his pending sentencing before your court.

I have known Mr. Oxendine for over 30 years on both a professional and personal
basis. In my dealings with Mr. Oxendine on a professional basis, I always found him to
be prepared and fair. He has always demonstrated high intellect, a knack for cutting to
the core of an issue and logical and credible analytic skills.

On a personal basis he has demonstrated loyalty and compassion, particularly during
the time of medical treatment of my son who ultimately passed. It was a difficult time in
my life and John was not only there he didn’t shy away from what was a difficult
circumstance.

I would be happy to provide more information if it would be helpful or desired.

Very truly yours,


Michael Camilleri
mc/lf
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July 1, 2024

VIA Email c/o Counsel for John Oxendine

Honorable Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, Georgia 30303

Re:     Character Letter on behalf of John Oxendine

Dear Judge Jones:

With respect, I ask that you please accept and consider this character letter on behalf of John
Oxendine as you administer justice in John’s case.
I know John and his family very well; I am proud to call him a close, personal friend. We were
first introduced when John, Ivy and Jake moved next door to my family in a suburb of Atlanta
just over a decade ago. Although my work has since taken me from Atlanta, I remain close to
John through text, email and occasional visits.
I am quite familiar with John’s general behavior and character. I find his word and deed to be
that of a fine, upstanding gentleman and good citizen. John is hardworking, disciplined, fair and
ethical. Notwithstanding the subject matter of this trial, my experience with John never revealed
any character flaw or any act of dishonesty. On the contrary, I’ve always found John to be
friendly counsel of great integrity and personally, a warm and generous friend.
John and Ivy are wonderful people. They are welcoming and conscientious neighbors who
regularly spend time with their children and grandchildren at their home. They are truly service-
oriented. John never failed to take the opportunity to offer his help with my home projects or
problems and he was a welcome source of camaraderie and support during the flu epidemic
several years ago. John even had the opportunity to serve as an untrained EMT, getting me to
the hospital and helping save my right eye after a yardwork accident.
Please consider these comments favorably as you find justice in John’s matter.


Sincerely,


Michael J. Francesconi
Vice President & Chief Counsel
UPS Airlines
1400 North Hurstbourne Parkway
Louisville, Kentucky 40223
email: mfrancesconi@ups.com
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                                                                                          1197 Canton Street
                                                                                          Roswell, GA 30075
                                                                                         (770) 741-0700
                                                                                         mjlober@lddlawyers.com



                                                     June 3, 2024


Honorable Steve Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303

                               Re: Character Letter for John W. Oxendine

Dear Judge Jones:

        I am writing to provide some insight into the character of John Oxendine, who I have known since 1983
when I was a freshman in college. While I am dismayed at the conduct that necessitates this letter, I am most
willing to write to this Court as I feel it is important that a man be judged not solely for a bad decision that I can
attest does not reflect the entirety of a man’s character and a life of honorable deeds.

       Please indulge me as I remember some of the reasons why I am writing this letter for it is the whole of
the over 40 years I have known John that compels me to address the Court. I first met John in 1983 after I
pledged his fraternity at Mercer University. He was a senior and when I first spent time with him. I was
immediately impressed not only with his intellect, but his willingness to mentor and advise. When John left for
law school the next year, I had limited contact with him until he heard I was thinking about law school, and he
reached out to me to let me know if there is anything I needed to just let him know.

        After I graduated law school, John, learning that I had opened a solo practice, again reached out to me to
let me know if I needed any help or advice, that he and his father, the late Judge Oxendine, would be there
however they could help. In those days as a struggling new lawyer, help they did. Not only did they take the
time to answer legal questions and refer me clients, but John always followed up on his referrals both to make
sure I did not need any help and to check that I was representing the clients properly. It is telling of John’s
character that it did not matter how rich or poor these referred clients were, John was always concerned that I
was doing all I could to help them…all of them.

       Over the years I have come to know John not as a lawyer, not as a politician, but as a friend and mentor.
John had a highly active government contracting practice focused on 8-A contractors. He was proud to help
businesses overcome obstacles for smaller minority owned concerns, and he understood them coming from a
native American heritage which not many people recognized. He never wore that on his sleeve, but it shaped his
understanding of people from all walks of life and instilled that every human being has an intrinsic value. He
strongly believes in the dignity and virtue of humanity.
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        When John decided to run for office, he asked me to come work with him at his law firm. I mostly
worked with his 8-A clients, generally in litigation matters. He was instrumental in teaching me the ins and outs
of federal court, as well as the intricacies of the various governmental boards hearing government contracting
claims. Many years after he left for the insurance commissioner’s office, he would still check up on how his
clients were doing, as they were not only his clients, but friends. His clients also cared deeply about him, not
only as their lawyer but as their friend.

       This brings me to a story…. I am an unabashed liberal. John was a “democrat” back in the day but
switched parties back in the early 1990’s like many other democrats. The day I heard about his switch he was
coming over to our house for dinner. As he was about to walk in, he said and paraphrasing “I guess you heard I
am now a republican, can I still come in” he joked. My reply was I have always considered you one, to which
he proudly said, “yes but I will always have an open mind and heart to all.” As he walked in, I knew he meant
it.

        This was something he never publicized, but he always kept true to that ideal. I saw it in the way he
treated all his clients with dignity and respect. How he believed in justice, fairness, and opportunity and was
steadfast in his mind that should apply equally to all. While he was insurance commissioner, he was most proud
telling stories of consumers he helped, or how he helped curtail what I remember him calling evil practices by
insurance companies. Behind all the politics and rhetoric, John was called to serve. While I know he loved the
prestige of holding office, what he was most proud of was helping others.

        Another quick anecdote…. I had stopped by the Insurance Commissioner’s office to see my old legal
assistant (yes, he took her from me to work at the department asking me first telling me he could give her more
opportunities than a struggling solo practitioner could…so true). Waiting to see John, and they were quite early
for their appointment, were several very high-ranking insurance executives coming to argue with John. To their
shock, John called me into his office to chat with him and while they were impatiently waiting. John always
made time for his friends.

       I could go on and on with examples, but I know your time is valuable. Let me boil down quite a few
into one more story which each goes like this: I met “___” person (a waiter at a restaurant, a cashier were I was
shopping, etc.) and she has such and such problem. Do you know who can help her? While John’s practice
became more specialized, it never meant that stopped trying to find ways to help.

         John is a proud man, perhaps his greatest flaw, but I know this experience has humbled him. I know
from our many recent conversations that he is now seeing this as an opportunity to learn, grow and move into
the next phase of his life. I know how hard giving up his law license was for John especially it means in part he
has lost one tool to help people. I also know that John will continue to find ways to positively impact both his
friends and community in the future.

        In closing, without reservation, I can say to this Court in all candors his misdeeds…his crimes, are not
reflective of the man I know. When you look back at a person, their greatest mistake must be weighed against
the whole of their life. On that scale John Oxendine ranks in my book as one of the good guys and I am proud to
call him a friend. Thank you for your consideration.

                                             Sincerely,

                                             /s/ Michael J. Lober

                                             Michael J. Lober
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‭ onorable Steve Jones,‬
H
‭U.S. District Court for the Northern District of Georgia,‬
 ‭75 Ted Turner Drive SW,‬
  ‭Atlanta, GA 30303‬

‭Dear Judge Jones,‬

‭ e are writing this letter on behalf of John Oxendine, whom we have had the pleasure of‬
W
‭knowing as both a neighbor and a friend since 2021.‬

‭ rom the moment our family first considered moving into the neighborhood, John welcomed us‬
F
‭with open arms. His warm demeanor and genuine enthusiasm for the community immediately‬
 ‭made us feel at home. We vividly remember the day we first met John while touring our‬
  ‭prospective house. He took the time to introduce himself, sharing valuable insights about the‬
   ‭neighborhood and assuring us that it was a wonderful place for families. His kindness and‬
    ‭hospitality left a lasting impression on us.‬

‭ ince then, John and his wife Ivy have become an integral part of our lives. Our evenings are‬
S
‭often filled with the joyful sound of our dogs playing together in the backyard, a testament to the‬
 ‭bond that John and we share as neighbors. Most afternoons, you can find John in his driveway or‬
  ‭yard, throwing a baseball or football with his son Jake. It's evident that he cares deeply for his‬
   ‭son, and their time together speaks volumes about his commitment to family.‬

‭ n many occasions, we gather around the fire pit in our backyard, exchanging stories and‬
O
‭enjoying each other's company late into the night. These moments of camaraderie have fostered a‬
 ‭deep sense of community that we cherish deeply.‬

‭ ne particularly memorable occasion was when John attended our wedding in 2022. His‬
O
‭presence added to the joy of our special day, and we were grateful to share such a momentous‬
 ‭occasion with him.‬

‭ nother instance that exemplifies John's character occurred when he went out of his way to‬
A
‭ensure that we felt included in the neighborhood's traditions and events. Before we even moved‬
 ‭in, John extended an invitation for us to attend the annual neighborhood holiday party,‬
  ‭demonstrating his thoughtfulness and generosity. His gesture not only eased our transition into‬
   ‭the neighborhood but also reinforced our belief that we had found a supportive and welcoming‬
    ‭community.‬

‭ hrough our interactions, we have come to admire John for his unwavering dedication to his‬
T
‭family and his selfless commitment to serving others. He consistently goes above and beyond to‬
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l‭end a helping hand to those in need, embodying the true spirit of neighborliness and‬
 ‭compassion.‬

I‭ n summary, we both wholeheartedly believe that John is a person of exemplary character, and‬
 ‭we are grateful to have him as a neighbor and friend.‬

‭Sincerely,‬

‭Paris and Chris Riley‬
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Philip A. Dunn
13 Princess Anne Rd.
Mobile, AL 36608


                                            June 1, 2024

Honorable Steven C. Jones,
U.S. District Court for the Northern District of Georgia
75 Ted Turner Drive SW
Atlanta, GA 30303

Dear Judge Jones,

I am writing this letter as a character reference for my stepfather, John Oxendine. John has been
in my life for over twenty years. I have almost no memories of my life without him. He served as
one of my primary role models and motivated me to become a lawyer.

When I first learned what John was accused of, and then pleaded to, I was shocked. His conduct
obviously implicates his character, but John is not a bad man.

John is one of the most compassionate, loving people anyone will meet. Although anecdotal,
there were countless times during my childhood where John was approached in public places
around the State by someone his office helped. In emotionally charged situations following
catastrophes, John, and the office he led, brought peace-of-mind to Georgians who were
suffering. This was due in no small part to John’s capacity for compassion.

He cared deeply for those people, like he does his family. John loves his family above all other
things on earth. He has sacrificed his time, health, and sanity for us. He is a patient man that tries
to live a virtuous life filled with love for family and others.

That’s John’s most underappreciated quality, his patience. Over the years, John has consistently
put his family first because of his ability to be patient and persevere. He does not always get the
appreciation he deserves from us, yet, he will be there for any member of his family at the drop
of a hat. He is a consistent father figure to me and my siblings, and a great husband to my mom.
His ability to continue consistently loving and supporting his family is the result of uncommon
patience for people.

I have been a direct beneficiary of John’s character. There were several years of my life spent
struggling into adulthood. Throughout that time, John was a constant. Being a stepfather, John
was not obligated to show me the grace he did. Many stepparents do not so willingly lend it. But
unlike most, he was unrelentingly empathetic and patient. He helped me learn and hold dear the
value of hard work and service to others. John instilled in me perseverance that has led me to
where I am today. Without him, I likely would not have turned myself around. And while I am
still working on patience, I will continue to follow his example in that regard.
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I hope that your Honor can see John for the man he truly is. Outside the confines of this case, his
character is that of a man with a good heart. He actively pursues a life of love, empathy, patience,
and kindness. John has always attempted to show me and my siblings what it means to live
virtuously. Unfortunately, he fell far short of his own expectations in this instance. However, that
shortcoming does not change my opinion of John’s true character. I still love my stepfather very
much and am proud to be his stepson. I am grateful for the lessons he has given me, both good
and bad, and have taken the same to heart.

Lastly, I would like to thank your Honor for your service and to thank your staff for their work. I
hope you will consider my letter with the imposition of your sentence, whatever it may be, and
know that John is a better person than is presented to you. I do not know when I will see my
stepfather again, but I hope I am able to attend sentencing to show the Court my respect and John
my support. If not, I pray this letter will suffice. He knows his error, and I know he is humbled
before the Court. Thank you for your attention, your Honor.




                                                             Sincerely,

                                                              /s/Philip A. Dunn_____________




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                     1800 Peachtree Rd, NW #508 Atlanta, GA 30309
                         Phone 404.876.4001 Fax 404.875.3845

Honorable Steve Jones
US District Court for the northern District of Georgia
75 Ted Turner Dr. SW.
Atlanta, GA 30303


I’m writing you on behalf of John Oxendine. I’ve known John for 25+ years. I
want to tell you a story about my friendship with John, after he left Office. I
called John to get advice when a contractor damaged my home in
Morningside. The contractor cracked my foundation, and I had tremendous
water and mold damage to my home. John listened to my story, then came out
to the house to see the damage for himself. His recommendations were
invaluable. He made a difficult situation easier to understand and deal with.
When I think of John Oxendine, I think of my story when somebody destroyed
my home. Thank you for your time.



Best regards

Dr. John Kennedy
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          ROBERT A. BURKICH, M.D., Dipl.______________________________________________________
         148 Cobb Parkway • Ringgold, GA 30736 • Office (706) 891-1200 • Fax (706) 891-1202




                                                                                            May 16, 2024
Honorable Steve Jones,
U.S. District Court for the Northern District of Georgia,
75 Ted Turner Drive SW,
Atlanta, GA 30303


To The Honorable Steve Jones,

I (Robert Burkich MD) am writing on behalf of Mr. John Oxendine, whom I have known for
over a decade. I can attest to John's outstanding character and integrity.

Throughout the years of our acquaintance, I have found John to be an individual of high moral
standing, honesty, and trustworthiness.

His dedication to his commitments and his unwavering loyalty to his friends and family are
qualities that set him apart. I have no hesitation in recommending John Oxendine and can
confidently affirm that he possesses the qualities of a person of good character.



Sincerely,




Robert A. Burkich, M.D.




Board Certified • Chelation Therapy • Preventive Medicine / Nutrition • Anti-Aging • General Practice
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                                                May 28, 2024



Honorable Steven Jones
U.S. District Court for the Northern District of Georgia
75 Ted Turner Dr. SW Atlanta, GA. 30303



The Honorable Steve Jones:

         My name is Robert D. Evans I am writing this letter on behalf of my friend and former boss
John W. Oxendine. I have known John for more than 20 years. I have a unique prospective in who
John is as a person. I was his Aide for Five years while he was the Insurance Commissioner for the
State of Georgia. John as Commissioner was always a Campion for the people. He always made
sure they were taken care of during times of need. If it was a tornado, church and house ﬁres or
insurance problems his door was always open. If a problem arose within the state John would drop
what he was doing to make sure the right resources were being used to take care of the situation.
John wore many hats as the Insurance and Safety Fire Commissioner, Industrial Loan
Commissioner, and the Comptroller General for the State of Georgia. John would always make sure
the citizens of Georgia had a voice in their government. John’s favorite saying was he worked for the
people of Georgia and no one else.

        In his personal life John would always try to be available for his family. Always tried to be
home for dinner if possible. If he could not make it at least a phone call home, his wife Ivy and
children were important part of his life. John and Ivy always made sure the children had what was
needed to be successful and education was always the answer. His children have grown up and
have become great adults. As a friend John would always ask if I was doing ok. Even after leaving
the Department, we have stayed in touch over the years and to be available to see each other.



                                                Sincerely,

                                                Robert D. Evans

2025 Winsted Way
Marietta GA. 30062

(770-630-2132)
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